It is our contention that the court does not acquire jurisdiction to enter judgment on the respondent's motion, ex parte, and without notice to the sureties of an opportunity to appear and be heard; this notwithstanding California decisions construing a similar statute. The California decisions on the proposition are far from being uniform; but are, in fact, conflicting. We shall not here undertake to review them all, but will refer to a few of them. *Page 175 
When the conditions and contingencies exist, whereby actual liability is cast upon the sureties on a stay bond, the remedy for relief against them under the statute (sec. 9735, Rev. Codes 1921) and the conditions of their undertaking must be "on motion of the respondent in his favor against the sureties." It cannot be questioned that, when the undertaking is signed and filed with the clerk, the sureties thereby submit themselves to the jurisdiction of the court, and their liability accrues, and they become liable to the respondent, immediately upon the expiration of thirty days after the remittitur has been received and filed in the trial court (2 Cal. Jur., p. 1085), and it is a general rule that, in the absence of an express statutory authority, a summary judgment on an appeal bond cannot be rendered (4 C.J., sec. 3436, p. 1305).
The motion referred to in the statute is an application for an order (sec. 9772, Rev. Codes 1921) for a judgment against the sureties. While appearance of the sureties in court is just as effectual as though they had put in a formal appearance by answer, demurrer or written notice; for the signing by them of the bond coupled with the filing of the undertaking constitutes a waiver of summons or formal process to bring them into court, "after appearance, a defendant or his attorney is entitled to notice of all subsequent proceedings of which notice is required to be given." (Sec. 9782, Id.)
The motion for judgment against them is one affecting the sureties directly, on matters by which they are to be bound, and their liability on the bond can be no greater, in contemplation of the law, than that of the principal debtor, and common sense dictates that they are entitled to notice of the motion, and, at its hearing, to interpose any defense which the principal debtor might interpose against the collection of the judgment debt.
Section 9735 does not declare that the motion for judgment against the sureties may be made without notice, nor does it dispense with it, and this court may not read into the statute, or hazard any guess as to the interpretation of the meaning of the phrase "on motion of respondent." The language requires *Page 176 
no interpretation, and the question as to whether the motion, which itself is of a summary nature, may be made, and hearing had thereon, ex parte, or, whether the hearing shall be upon notice, depends upon the application or statutes, in pari materia.
Under the provisions of the statutes cited, the sureties were entitled to notice of the hearing on the motion, and this being so they were entitled to notice of five days before the appointed time for the hearing (sec. 9774, Id.).
Writing generally on summary judgments, Corpus Juris lays down the rule that the proceedings are of an informal nature, and are construed with liberality, and that formal pleadings are usually not required. "It is essential to the validity of a judgment on motion that defendant be served with notice of the motion, and even where the statute authorizing such a proceeding is silent as to notice, defendant is entitled to a reasonable notice. It is not sufficient that the record recites that the parties came by their attorneys." (34 C.J., sec. 427, p. 203.)
To obtain a stay of execution of the judgment rendered in plaintiff's favor pending appeal to this court, resulting in the decision reported in St. George v. Boucher, 84 Mont. 158,274 P. 489, defendant Boucher furnished a written undertaking signed by defendants Hickey and Nolan as sureties, pursuant to section 9735, Revised Codes 1921. The undertaking was conditioned as follows:
"Now, therefore, in consideration of the premises and of such appeal we, the undersigned, J.P. Nolan and Ed. J. Hickey, both of the county of Silver Bow, do hereby jointly and severally undertake and promise in the sum of ($2,926.00) *Page 177 
Two Thousand Nine Hundred Twenty-six and No/100 Dollars (this being double the amount named in the judgment) that if the judgment appealed from, or any part thereof, be affirmed, or the appeal dismissed, the said appellant will pay the amount directed to be paid by the judgment or the part of such amount as to which the judgment shall be affirmed, if affirmed only in part, and all damages and costs which may be awarded against the appellant upon the appeal, and that if the appellant does not make such payment within thirty days after the filing of the remittitur from the supreme court in the said district court, judgment may be entered on motion of the respondent in his favor against us for such amount together with the interest that may be due thereon, and the damages and costs which may be awarded against the appellant upon the appeal."
Thirty days having elapsed after the filing of the remittitur from this court in the district court of Silver Bow county, plaintiff filed a motion for judgment in the district court against the sureties, Hickey and Nolan. The motion was not served upon the sureties, but defendant Boucher filed a motion to dismiss plaintiff's motion for judgment against the sureties, upon the ground that an action was pending in equity to offset judgments in defendant's favor against the judgment in plaintiff's favor. The offset action referred to was the case ofBoucher v. St. George, ante, p. 162, 293 P. 315, this day decided by this court. The two motions were heard by the district court. At the hearing it was shown that the judgment in plaintiff's favor had not been paid in whole or in part. The pleadings in the offset action, the pleadings and judgment in the action involved in 84 Mont. 158, and the supersedeas bond were introduced in evidence. Defendant's motion was denied and plaintiff's granted, and judgment entered in favor of plaintiff against the sureties. Boucher and the sureties have appealed from the judgment.
Defendants contend that the court was without jurisdiction to[1]  enter judgment against the sureties without giving them notice of the motion and an opportunity to be heard. *Page 178 
Our section 9735 was originally enacted in 1867, but it was not until 1895 that the following clauses were introduced into the section: "and that if the appellant does not make such payment within thirty days after the filing of the remittitur from the supreme court in the court from which the appeal is taken, judgment may be entered on motion of the respondent in his favor against the sureties for such amount, together with the interest that may be due thereon, and the damages and costs which may be awarded against the appellant upon the appeal. If the judgment or order appealed from be for a greater amount than two thousand dollars, and the sureties do not state in their affidavits of justification accompanying the undertaking that they are each worth the sum specified in the undertaking, the stipulation may be that the judgment to be entered against the sureties shall be for such amounts only as in their affidavits they may state that they are severally worth, and judgment may be entered against the sureties by the court from which the appeal is taken, pursuant to the stipulations herein designated."
The clauses then introduced into section 9735 were taken verbatim from the California Code. Prior to their adoption the supreme court of California, in Meredith v. Santa Clara Min.Assn., 60 Cal. 617, had held that notice to the sureties was not required. The court in that case said: "It is conceded that the lower court had jurisdiction of the subject-matter of the suit, and of the defendant against whom the original judgment was rendered, and from which that defendant appealed. Now, that appeal was a continuation of the action; by it the original judgment entered in the action was suspended until the appellate court had determined its validity; and when the sureties to the undertaking on appeal agreed that, in case of the affirmance of the judgment, or of any part of it, by the appellate court, and of its non-payment by the judgment debtor, judgment might be entered also against them, in the court from whose judgment the appeal was taken, according to the law under which the appeal was taken, they, in legal effect, voluntarily made themselves parties to the *Page 179 
action, and submitted themselves to the jurisdiction of the court. The court, therefore, had jurisdiction not only over the person of the original defendant to the action, but also over the persons of the sureties to the undertaking on appeal in the case, until enforcement of any judgment recovered against them as parties to the action. And, having voluntarily made themselves parties to the action and submitted themselves to the jurisdiction of the court, they also assented to and adopted all the provisions of the law for the enforcement of the obligation incurred by their undertaking, and waived any constitutional or statutory right in its enforcement to which they might have been otherwise entitled." To the same effect are Mowry v. Henry, 3 Cal. Unrep. 277, 24 P. 301, decided in 1890, and Gray v.Cotton, 174 Cal. 256, 162 P. 1019; Hogan v. Locke-Paddon,91 Cal.App. 606, 267 P. 392; Roberts v. Fitzgerald,94 Cal.App. 747, 271 P. 1110.
The legislature, by adopting the California statute, is[2]  presumed to have intended to adopt its construction also. (Esterly v. Broadway Garage Co., 87 Mont. 64, 285 P. 172.) The California decisions on this subject seem to us to be based upon sound reasoning and are in accord with the decisions of other courts under similar statutes. (Rogers v. Brooks,31 Ark. 194; Morse Bros. Lumber Co. v. F. Burkhart Mfg. Co.,155 Ark. 350, 244 S.W. 350; Jewett v. Shoemaker, 124 Iowa, 561,100 N.W. 531; Portland Trust Co. v. Havely, 36 Or. 234,59 P. 466, 61 P. 346; Hurst v. Lakin, 13 Ariz. 328,114 P. 950; United States Fidelity  Guaranty Co. v. Ft. MiseryHighway District, 22 F.2d 369.)
The court did not err in entering judgment against the sureties without notice. The judgment is affirmed.
ASSOCIATE JUSTICES MATTHEWS and FORD concur.
MR. CHIEF JUSTICE CALLAWAY, being absent, did not hear the argument and takes no part in the foregoing action. *Page 180 